            Case 3:21-cv-07559-WHA          Document 260-1        Filed 05/17/23     Page 1 of 2

                                  UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
Case No: 20-cv-06754-WHA
Case Name: Sonos, Inc. v. Google, LLC

                           TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                            PLAINTIFFS ATTORNEYS:                    DEFENSE ATTORNEYS:
 William Alsup                     Sean Sullivan, Alyssa Caridis, Dan       Sean Pak, Melissa Baily, Iman
                                   Smith, Rory Shea, Cole Richter,          Lordgooei, James Judah, Jason
                                   Clem Roberts, David Grosby, Geoff        Williams
                                   Moss, Joseph Kolker
 TRIAL DATE:                       REPORTER(S):                             CLERK:
 05/17/2023                        Marla Knox                               Angella Meuleman

 PLF      DEF    DATE/TIME
 NO.      NO.    OFFERED   ID REC DESCRIPTION                                               BY
                 7:23 a.m.        Court in session. Court ruled on matters discussed
                                  outside presence of jury. Housekeeping matters further
                                  discussed outside presence of jury.
                 7:47 a.m.        Jury present. Court explained to the jury its reasons for
                                  striking idle mode from Mr. Schonfeld’s testimony
                                  from yesterday.
                 7:50 a.m.        Witness, Dan Schonfeld, Ph.D., on witness stand.
                                  Direct examination of witness continues by Sean Pak.
          TX3698           X X    Crestron.com
          TX6513                   X    X      U.S. Patent No. 7,197,148 (Nourse).
          TX3808                   X    X      Produced excerpts from Internet Archive.
          TX2508                   X    X      Web.archive.org.
          TX3007                   X    X      SlimServer_V5.3.1 Source Code.
          TX2675                   X    X      U.S. Patent No. 7,603,414.
                   8:44 a.m.                   Cross-examination of witness by Clem Roberts.
                   9:06 a.m.                   Jury excused for break. Court in recess.
                   9:26 a.m.                   Court reconvened. Jury present. Cross-examination of
                                               witness continues by Clem Roberts.
          TX2676                   X    X      U.S. Patent No. 7,732,694.
          TX0006                   X    X      Excerpts.
          TX2674                   X    X      U.S. Patent No. 7,562,117.
          TX2673                   X    X      U.S. Patent No. 7,542,816.
                   10:03 a.m.                  Re-direct examination of witness by Sean Pak.
                   10:14 a.m.                  Re-cross examination of witness by Clem Roberts.
                   10:15 a.m.                  Witness thanked.
                   10:16 a.m.                  Witness, Christopher Chan, approached the witness
                                               stand and sworn for testimony. Direct examination of
                                               witness by Melissa Baily.
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 Case 3:21-cv-07559-WHA       Document 260-1        Filed 05/17/23   Page 2 of 2

TX3509                X   X      Chromecast physical exhibit.
TX3787                X   X      Nest Audio Speaker physical exhibit.
TX3786                X   X      Nest Hub physical exhibit.
TX0140                X   X      Spreadsheet Multizone Data.
         10:31 a.m.              Cross-examination of witness by Cole Richter.
TX6353                X   X      Webpage: Google – The Keyword – Product Updates.
         10:43 a.m.              Witness thanked.
         10:43 a.m.              Jury excused for break.         Housekeeping matters
                                 discussed outside presence of jury.
         10:46 a.m.              Court in recess.
         10:59 a.m.              Court reconvened. Oral motion for Rule 50(a) made by
                                 Sean Sullivan, preserved for the record. Additional
                                 housekeeping matters discussed outside presence of
                                 jury.
         11:04 a.m.              Jury present.      Witness, Christopher Bakewell,
                                 approached the witness stand and sworn for testimony.
                                 Direct examination of witness by Melissa Baily.
         11:46 a.m.              Jury excused for break. Court in recess.
         11:54 a.m.              Court reconvened. Proposed jury instructions discussed
                                 outside presence of jury.
         11:59 a.m.              Jury present. Court discusses trial protocol from this
                                 point forward with jury.
         12:02 p.m.              Cross examination of witness by Alyssa Caridis.
TX0158                X   X      Presentation: Speakers Prince Conjoint Survey Results.
         12:40 p.m.              Re-direct examination of witness by Melissa Baily.
         12:47 p.m.              Witness thanked.
         12:48 p.m.              Defense RESTS.
         12:48 p.m.              Jury admonished and excused for the day. Further
                                 housekeeping matters discussed outside presence of
                                 jury. Rule 50(a) motions will be raised tomorrow.
         12:50 p.m.              Court adjourned.




                                      2
